               IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF MISSOURI
                            WESTERN DIVISION


UNITED STATES OF AMERICA                     )
                                             )
                            Plaintiff,       )
                                             )
       vs.                                   )   Case No. 08-00113-01-CR-W-NKL
                                             )
TODD BARKAU,                                 )
                                             )
                            Defendant.       )


                                         ORDER

       Pending before the Court is Todd B. Barkau’s (“Barkau”) Appeal of Magistrate’s

Order of Detention [Doc. # 29]. His Appeal of Magistrate’s Detention Order is denied.

I.     Background

       On May 7, 2008, Barkau was indicted for crimes related to commercial sex

trafficking and sexual exploitation of a child. If convicted, Barkau faces not less than 80

years in prison. The United States argues that Barkau should not be released on bail

based on the violent nature of the charge; the strength of the evidence against Barkau; his

transient existence; and his possession of multiple forms of identity and preparedness to

leave the country. (Det. Tr., 14-19). Barkau argues that he should be released because he

is married and would live with his wife and step-son in her home in Meridian,

Mississippi; Barkau also has a storage unit in Meridian with his personal effects; he made

his statements about fleeing over two years ago; and, he could “easily find employment”

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upon release. (Doc. 29, 5-6). Barkau also argues that when one victim left his house in

2005, there was no longer any danger to her and there is no evidence that he has

committed crimes “in the last couple of years.” On June 6, 2008, United States

Magistrate Judge Sarah Hays entered an Order detaining Barkau pursuant to 18 U.S.C. §

3142(e), after conducting a detention hearing pursuant to 18 U.S.C. § 3142(f).

II.    Discussion

       The District Court reviews a magistrate judge’s detention order de novo. United

States v. Maull, 773 F.2d 1479, 1481 (8th Cir. 1985). The purpose of a detention hearing

under the Bail Reform Act is to determine if a court can impose conditions which would

“reasonably assure” the defendant’s appearance at all scheduled hearings and “the safety

of any other person and the community . . . .” 18 U.S.C. § 3142(e). The statutory scheme

established by 18 U.S.C. § 1342 favors release over pretrial detention. United States v.

Orta, 760 F.2d 887, 890 (8th Cir. 1985). However, if there is probable cause that a

defendant has committed an offense for which the maximum sentence is ten years or

more, then there is a presumption that no condition will reasonably protect the community

and assure that the defendant will appear for trial. Barkau faces a sentence of ten years or

more and is, therefore, subject to the presumption against release. If a defendant comes

forward with evidence to rebut the presumption against release, the Court must weigh the

evidence understanding that the Bail Reform Act favors pre-trial release. See United

States v. Jessup, 757 F.2d 378, 383 (1st Cir. 1985).

       When determining whether there are conditions of release that will reasonably


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assure the safety of the community, the Court may consider the following:

       (1) the nature and circumstances of the offense charged, including whether the
       offense is a crime of violence, a Federal crime of terrorism, or involves a minor
       victim or a controlled substance, firearm, explosive, or destructive device;

       (2) the weight of the evidence against the person;

       (3) the history and characteristics of the person, including--

       (A) the person's character, physical and mental condition, family ties, employment,
       financial resources, length of residence in the community, community ties, past
       conduct, history relating to drug or alcohol abuse, criminal history, and record
       concerning appearance at court proceedings; and

       (B) whether, at the time of the current offense or arrest, the person was on
       probation, on parole, or on other release pending trial, sentencing, appeal, or
       completion of sentence for an offense under Federal, State, or local law; and

       (4) the nature and seriousness of the danger to any person or the community that
       would be posed by the person's release . . .

18 U.S.C. § 3142(g).

       Barkau is charged with serious crimes involving not only the violent sexual abuse

of children but commercial gain thereupon; when he was arrested, he was in possession of

two firearms and has in the past threatened to use a gun on an ex-girlfriend as well as

himself. (Det. Tr., 12-15). The United States has proven that Barkau has a history of

drug use and physical abuse of others. Barkau’s cooperation with law enforcement at the

time of his arrest is of relatively little value since he was unaware that he was being

investigated for a crime at that time. Similarly, his ties to Meridian, Mississippi, do not

overcome the presumption against release. See United States v. Bailey, 750 F. Supp. 413,

417 (W.D. Mo. 1990). Barkau is charged with serious crimes which justify his detention.


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      Accordingly, Barkau’s Appeal of Magistrate’s Detention Order [Doc. # 29] is

DENIED.

                                       s/ Nanette K. Laughrey
                                       NANETTE K. LAUGHREY
                                       United States District Judge

Dated: July 22, 2008
Kansas City, Missouri




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